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            Form 5500                                 Annual Return/Report of Employee Benefit Plan                                                                                     OMB Nos. 1210-0110
                                                                                                                                                                                                 1210-0089
                                                     This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury
                                                    and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
                                                        sections 6057(b) and 6058(a) of the Internal Revenue Code (the Code).
           Internal Revenue Service
                                                                                                                                                                                       2018
            Department of Labor                                             Complete all entries in accordance with
          Employee Benefits Security
               Administration                                                 the instructions to the Form 5500.
    Pension Benefit Guaranty Corporation                                                                                                                               This Form is Open to Public
                                                                                                                                                                               Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2018 or fiscal plan year beginning 01/01/2018                                                                 and ending 12/31/2018

A This return/report is for:                    X a multiemployer plan                               X a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                         participating employer information in accordance with the form instructions.)
                                                X
                                                X a single-employer plan                             X a DFE (specify)       _C_
B This return/report is:                        X the first return/report                            X the final return/report
                                                X an amended return/report                           X a short plan year return/report (less than 12 months)
C If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D Check box if filing under:                  X
                                              X Form 5558                             X automatic extension         X the DFVC program
                                              X special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                          1b Three-digit plan
                                                                                                                                                                                                      003
                                                                                                                                                                                                      001
ABCDEFGHI     ABCDEFGHI
 SERCO INC. 401(K)         ABCDEFGHI
                   RETIREMENT PLAN   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                   number (PN) 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c    Effective date of plan
                                                                                                                                                                               YYYY-MM-DD
                                                                                                                                                                               01/01/2007
2a Plan sponsor’s name (employer, if for a single-employer plan)                                                                                                         2b Employer Identification
   Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                     Number (EIN)
   City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                     012345678
                                                                                                                                                                               XX-XXXXXXX
ABCDEFGHI
SERCO  INC.     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                              2c Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                              number
ABCDEFGHI                                                                                                                                                                      0123456789
                                                                                                                                                                                  703-939-6159
c/oWORLDGATE
1230 ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                DRIVE                                                                                                                                                    2d Business code (see
HERNDON, VA 20170
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                            instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                            012345
                                                                                                                                                                               541600
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN       Filed with authorized/valid electronic signature.                                        YYYY-MM-DD
                                                                                                    09/18/2019                 ABCDEFGHI
                                                                                                                               MARY BUZAN            ABCDEFGHI ABCDEFGHI ABCDE
HERE
             Signature of plan administrator                                                        Date                       Enter name of individual signing as plan administrator

SIGN                                                                                                YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
             Signature of employer/plan sponsor                                                     Date                       Enter name of individual signing as employer or plan sponsor

SIGN                                                                                                YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                            Date                                                      Enter name of individual signing as DFE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                                 Form 5500 (2018)
                                                                                                                                                                                               v. 171027
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              Form 5500 (2018)                                                                                                         Page 2
3a Plan administrator’s name and address X
                                         X Same as Plan Sponsor                                                                                                                           3b Administrator’s EIN
                                                                                                                                                                                             012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                     3c Administrator’s telephone
c/o ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                         number
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                               0123456789
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK
4 If the name and/or EIN of the plan sponsor or the plan name has changed since the last return/report filed for this plan,                                                               4b EIN012345678
      enter the plan sponsor’s name, EIN, the plan name and the plan number from the last return/report:
 a    Sponsor’s name                                                                                                                                                                      4d PN
 c    Plan Name                                                                                                                                                                              012

5     Total number of participants at the beginning of the plan year                                                                                                                          5            123456789012
                                                                                                                                                                                                                   12414
6     Number of participants as of the end of the plan year unless otherwise stated (welfare plans complete only lines 6a(1),
      6a(2), 6b, 6c, and 6d).

 a(1) Total number of active participants at the beginning of the plan year ..........................................................................................
                                                                                                                                                             6a(1)                                                  5672

 a(2) Total number of active participants at the end of the plan year ..................................................................................................
                                                                                                                                                               6a(2)                                                4557


 b Retired or separated participants receiving benefits.........................................................................................................................
                                                                                                                                                                         6b                                123456789012
                                                                                                                                                                                                                      9

 c Other retired or separated participants entitled to future benefits .....................................................................................................
                                                                                                                                                                     6c                                    123456789012
                                                                                                                                                                                                                    5677

 d Subtotal. Add lines 6a(2), 6b, and 6c..................................................................................................................................... 6d                           123456789012
                                                                                                                                                                                                                   10243

 e Deceased participants whose beneficiaries are receiving or are entitled to receive benefits. ...........................................................
                                                                                                                                                    6e                                                     123456789012
                                                                                                                                                                                                                     93

 f Total. Add lines 6d and 6e. .............................................................................................................................................................
                                                                                                                                                                                      6f                   123456789012
                                                                                                                                                                                                                   10336

 g Number of participants with account balances as of the end of the plan year (only defined contribution plans
                                                                                                                                                                                             6g
        complete this item) ........................................................................................................................................................................       123456789012
                                                                                                                                                                                                                    9757

 h Number of participants who terminated employment during the plan year with accrued benefits that were
                                                                                                                                                                                         6h
      less than 100% vested ....................................................................................................................................................................           123456789012
                                                                                                                                                                                                                    1403
7     Enter the total number of employers obligated to contribute to the plan (only multiemployer plans complete this item) ....................                                           7
8a If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan Characteristics Codes in the instructions:
      2R     2J       2F      2G      2K      2S      2T      3H      2E

 b If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan Characteristics Codes in the instructions:


9a Plan funding arrangement (check all that apply)                              9b Plan benefit arrangement (check all that apply)
   (1)     X
           X Insurance                                                               (1)      X
                                                                                              X Insurance
   (2)     X Code section 412(e)(3) insurance contracts                              (2)      X Code section 412(e)(3) insurance contracts
   (3)     X
           X Trust                                                                   (3)      X
                                                                                              X Trust
   (4)     X General assets of the sponsor                                           (4)      X General assets of the sponsor
10 Check all applicable boxes in 10a and 10b to indicate which schedules are attached, and, where indicated, enter the number attached. (See instructions)
    a Pension Schedules                                                                                                    b General Schedules
      (1)    X
             X   R (Retirement Plan Information)                                                                             (1)     X
                                                                                                                                     X       H (Financial Information)
                                                                                                                                (2)           X              I (Financial Information – Small Plan)
      (2)         X        MB (Multiemployer Defined Benefit Plan and Certain Money
                           Purchase Plan Actuarial Information) - signed by the plan                                            (3)           X  1 A (Insurance Information)
                                                                                                                                              X ___
                           actuary                                                                                              (4)           X
                                                                                                                                              X              C (Service Provider Information)

      (3)         X        SB (Single-Employer Defined Benefit Plan Actuarial                                                   (5)           X
                                                                                                                                              X              D (DFE/Participating Plan Information)
                           Information) - signed by the plan actuary                                                            (6)           X              G (Financial Transaction Schedules)
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           Form 5500 (2018)                                                                  Page 3


Part III Form M-1 Compliance Information (to be completed by welfare benefit plans)
11a If the plan provides welfare benefits, was the plan subject to the Form M-1 filing requirements during the plan year? (See instructions and 29 CFR
     2520.101-2.) ........................………..…. X   Yes   X   No

     If “Yes” is checked, complete lines 11b and 11c.

11b Is the plan currently in compliance with the Form M-1 filing requirements? (See instructions and 29 CFR 2520.101-2.) ……..... X Yes X No
11c Enter the Receipt Confirmation Code for the 2018 Form M-1 annual report. If the plan was not required to file the 2018 Form M-1 annual report, enter the
     Receipt Confirmation Code for the most recent Form M-1 that was required to be filed under the Form M-1 filing requirements. (Failure to enter a valid
     Receipt Confirmation Code will subject the Form 5500 filing to rejection as incomplete.)

     Receipt Confirmation Code______________________
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         SCHEDULE A                                                Insurance Information                                                    OMB No. 1210-0110
            (Form 5500)
         Department of the Treasury                     This schedule is required to be filed under section 104 of the
          Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                 2018
            Department of Labor
   Employee Benefits Security Administration                      File as an attachment to Form 5500.
     Pension Benefit Guaranty Corporation
                                                       Insurance companies are required to provide the information                  This Form is Open to Public
                                                                     pursuant to ERISA section 103(a)(2).                                    Inspection
For calendar plan year 2018 or fiscal plan year beginning 01/01/2018                                          and ending    12/31/2018
A Name of plan                                                                                              B Three-digit
ABCDEFGHI       ABCDEFGHI
SERCO INC. 401(K)    RETIREMENT   ABCDEFGHI
                                      PLAN         ABCDEFGHI ABCDEFGHI
                                                            ABCDE         plan number (PN)               003         001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                 D Employer Identification Number (EIN)
ABCDEFGHI
SERCO INC.     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE              012345678
                                                                           XX-XXXXXXX
FGHI ABCDEFGHI
 Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                  on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
VOYA            ABCDEFGHI
     LIFE INSURANCE           ABCDEFGHI
                        AND ANNUITY       ABCDEFGHI
                                    COMPANY                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                     Policy or contract year
                                      (c) NAIC            (d) Contract or
          (b) EIN                                                                      persons covered at end of
                                        code           identification number                                                 (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                        86509           624090                                           10336               01/01/2018                12/31/2018
012345678                          ABCDE          ABCDE0123456789                   1234567                                YYYY-MM-DD               YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                    (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                          0
                                                    123456789012345                                                                                0
                                                                                                                                               123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                      (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
    (b) Amount of sales and base                                               Fees and other commissions paid
         commissions paid                               (c) Amount                                       (d) Purpose                              (e) Organization code
      -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                      (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
    (b) Amount of sales and base                                               Fees and other commissions paid
         commissions paid                               (c) Amount                                       (d) Purpose                              (e) Organization code
      -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                  Schedule A (Form 5500) 2018
                                                                                                                                                           v. 171027
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        Schedule A (Form 5500) 2018                                                 Page 2 – 11     x

                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                  -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                  -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                  -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                  -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                  -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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            Schedule A (Form 5500) 2018                                                                                      Page 3

 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end .........................................................4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end ...........................................................5 123456789012345
                                                                                                                                                               26004855
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier..............................................................................................................................................6b       -123456789012345
   c     Premiums due but unpaid at the end of the year ..........................................................................................................6c                    -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                              6d        -123456789012345
         retention of the contract or policy, enter amount. .........................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)               

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X                                                                    X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b      Balance at the end of the previous year .......................................................................................................................7b              123456789012345
   c      Additions: (1) Contributions deposited during the year ..........................................   7c(1)                   -123456789012345
                                                                                                                     7c(2)
         (2) Dividends and credits .......................................................................................                    -123456789012345
                                                                                                                     7c(3)
         (3) Interest credited during the year .......................................................................                        -123456789012345
         (4) Transferred from separate account...................................................................    7c(4)                    -123456789012345
                                                                                                                     7c(5)
         (5) Other (specify below) .......................................................................................                    -123456789012345
        


                                                                                                                                                                               7c(6)
       (6)Total additions .........................................................................................................................................................      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). ..............................................................................................7d                          123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                         7e(1)                   -123456789012345
      (2) Administration charge made by carrier ..............................................................          7e(2)                   -123456789012345
      (3) Transferred to separate account........................................................................       7e(3)                   -123456789012345
      (4) Other (specify below) ........................................................................................7e(4)                   -123456789012345
        


                                                                                                                                                                                7e(5)
         (5) Total deductions ......................................................................................................................................................     123456789012345
    f     Balance at the end of the current year (subtract line 7e(5) from line 7d) ......................................................................7f                             123456789012345
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              Schedule A (Form 5500) 2018                                                                                       Page 4


 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                              c X Vision                                                d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                      g X Supplemental unemployment                             h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                        k X PPO contract                                          l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ......................................................................................
                                                                                                          9a(1)                                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid .........................................................   9a(2)                    -123456789012345
           (3) Increase (decrease) in unearned premium reserve ..................................................       9a(3)                    -123456789012345
                                                                                                                                                                                9a(4)
           (4) Earned ((1) + (2) - (3)) ...............................................................................................................................................      123456789012345
      b                                                                                                                 9b(1)
            Benefit charges (1) Claims paid ....................................................................................                  -123456789012345
                                                                                                                        9b(2)
           (2) Increase (decrease) in claim reserves ......................................................................                       -123456789012345
           (3) Incurred claims (add (1) and (2)) .............................................................................................................................. 9b(3)        123456789012345
                                                                                                                                                                                9b(4)
           (4) Claims charged ........................................................................................................................................................       123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                                                                                                                           9c(1)(A)
                 (A) Commissions ....................................................................................................               -123456789012345
                                                                                                                           9c(1)(B)
                 (B) Administrative service or other fees ...................................................................                       -123456789012345
                                                                                                                           9c(1)(C)
                 (C) Other specific acquisition costs .........................................................................                     -123456789012345
                                                                                                                           9c(1)(D)
                 (D) Other expenses.................................................................................................                -123456789012345
                                                                                                                           9c(1)(E)
                 (E) Taxes ................................................................................................................         -123456789012345
                 (F) Charges for risks or other contingencies ............................................................ 9c(1)(F)                 -123456789012345
                                                                                                                           9c(1)(G)
                 (G) Other retention charges ....................................................................................                   -123456789012345
                                                                                                                                                                               9c(1)(H)
                 (H) Total retention ...................................................................................................................................................     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.) ................................
                                                                                                                                    9c(2)                                                    123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement .............................
                                                                                                                                    9d(1)                                                    123456789012345
                                                                                                                                                                           9d(2)
      (2) Claim reserves ........................................................................................................................................................            123456789012345
                                                                                                                                                                           9d(3)
      (3) Other reserves.........................................................................................................................................................            123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ............................................                                  9e              123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier .................................................................................................               10a              123456789012345
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                                   -
                                                                                                                                            10b
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount.........................................                                            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV      Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............ X Yes X No
                                                                                                                  X
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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         SCHEDULE C                                        Service Provider Information                                                         OMB No. 1210-0110

            (Form 5500)
          Department of the Treasury             This schedule is required to be filed under section 104 of the Employee                             2018
           Internal Revenue Service                        Retirement Income Security Act of 1974 (ERISA).
            Department of Labor
   Employee Benefits Security Administration                     File as an attachment to Form 5500.                                    This Form is Open to Public
     Pension Benefit Guaranty Corporation                                                                                                        Inspection.
For calendar plan year 2018 or fiscal plan year beginning        01/01/2018                                  and ending        12/31/2018
A Name of plan                                                                                          B Three-digit
ABCDEFGHI
 SERCO INC. 401(K) RETIREMENT PLAN                                                                           plan number (PN)                      003
                                                                                                                                                   001


C Plan sponsor’s name as shown on line 2a of Form 5500                                                  D Employer Identification Number (EIN)
ABCDEFGHI
 SERCO INC.                                                                                             012345678
                                                                                                            XX-XXXXXXX



 Part I        Service Provider Information (see instructions)

  You must complete this Part, in accordance with the instructions, to report the information required for each person who received, directly or indirectly, $5,000
  or more in total compensation (i.e., money or anything else of monetary value) in connection with services rendered to the plan or the person's position with the
  plan during the plan year. If a person received only eligible indirect compensation for which the plan received the required disclosures, you are required to
  answer line 1 but are not required to include that person when completing the remainder of this Part.


1 Information on Persons Receiving Only Eligible Indirect Compensation
a Check "Yes" or "No" to indicate whether you are excluding a person from the remainder of this Part because they received only eligible
  indirect compensation for which the plan received the required disclosures (see instructions for definitions and conditions).. . . . . . . . . . . . . . .   X
                                                                                                                                                               X Yes X No

b If you answered line 1a “Yes,” enter the name and EIN or address of each person providing the required disclosures for the service providers who
  received only eligible indirect compensation. Complete as many entries as needed (see instructions).

                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
 VOYA INSTITUTIONAL PLAN SERVICES


 XX-XXXXXXX


                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                        Schedule C (Form 5500) 2018
                                                                                                                                                                  v.180523
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                                                                                  1     x


            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




            (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
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               Schedule C (Form 5500) 2018                                                     Page 3 - 11        x

2. Information on Other Service Providers Receiving Direct or Indirect Compensation. Except for those persons for whom you
     answered “Yes” to line 1a above, complete as many entries as needed to list each person receiving, directly or indirectly, $5,000 or more in total compensation
     (i.e., money or anything else of value) in connection with services rendered to the plan or their position with the plan during the plan year. (See instructions).

                                                          (a) Enter name and EIN or address (see instructions)
 VOYA INSTITUTIONAL PLAN SERVICES



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
                 a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                       answered “Yes” to element
                                                                                                                          (f). If none, enter -0-.

37 49 64 99 ABCDEFGHI
            RECORD KEEPER             123456789012
                                               818372                                                                   123456789012345 0
               ABCDEFGHI                   345                  Yes X
                                                                    X       No X              Yes X
                                                                                                  X        No X                                       Yes X     No X
                                                                                                                                                                   X
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)
 VOYA RETIREMENT ADVISORS, LLC



 XX-XXXXXXX


      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
                 a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                       answered “Yes” to element
                                                                                                                          (f). If none, enter -0-.

26             ABCDEFGHI
               INVEST ADVISOR 123456789012
                                       207416                                                                           123456789012345
               ABCDEFGHI           345                          Yes X       No X
                                                                               X              Yes X        No X                                       Yes X     No X
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)
 SAGE VIEW ADVISORY



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
                 a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                       answered “Yes” to element
                                                                                                                          (f). If none, enter -0-.

17             ABCDEFGHI
               CONSULTANT             123456789012
                                               95000
               ABCDEFGHI                   345                  Yes X       No X
                                                                               X              Yes X        No X                                       Yes X     No X
               ABCD
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2. Information on Other Service Providers Receiving Direct or Indirect Compensation. Except for those persons for whom you
  answered “Yes” to line 1a above, complete as many entries as needed to list each person receiving, directly or indirectly, $5,000 or more in total compensation
  (i.e., money or anything else of value) in connection with services rendered to the plan or their position with the plan during the plan year. (See instructions).

                                                       (a) Enter name and EIN or address (see instructions)




   (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
 Service       Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
 Code(s)     employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
               organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
             person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
              a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                    answered “Yes” to element
                                                                                                                       (f). If none, enter -0-.

            ABCDEFGHI              123456789012                                                                      123456789012345
            ABCDEFGHI                   345                  Yes X       No X              Yes X        No X                                       Yes X     No X
            ABCD

                                                       (a) Enter name and EIN or address (see instructions)




   (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
 Service       Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
 Code(s)     employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
               organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
             person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
              a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                    answered “Yes” to element
                                                                                                                       (f). If none, enter -0-.

            ABCDEFGHI              123456789012                                                                      123456789012345
            ABCDEFGHI                   345                  Yes X       No X              Yes X        No X                                       Yes X     No X
            ABCD

                                                       (a) Enter name and EIN or address (see instructions)




   (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
 Service       Relationship to       Enter direct       Did service provider          Did indirect compensation          Enter total indirect     Did the service
 Code(s)     employer, employee compensation paid         receive indirect              include eligible indirect    compensation received by provider give you a
               organization, or by the plan. If none, compensation? (sources         compensation, for which the     service provider excluding formula instead of
             person known to be       enter -0-.       other than plan or plan        plan received the required           eligible indirect       an amount or
              a party-in-interest                             sponsor)                       disclosures?           compensation for which you estimated amount?
                                                                                                                    answered “Yes” to element
                                                                                                                       (f). If none, enter -0-.

            ABCDEFGHI              123456789012
            ABCDEFGHI                   345                  Yes X       No X              Yes X        No X                                       Yes X     No X
            ABCD
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            Schedule C (Form 5500) 2018                                                        Page 4 - 1
                                                                                                        1     x

  Part I      Service Provider Information (continued)
3. If you reported on line 2 receipt of indirect compensation, other than eligible indirect compensation, by a service provider, and the service provider is a fiduciary
  or provides contract administrator, consulting, custodial, investment advisory, investment management, broker, or recordkeeping services, answer the following
  questions for (a) each source from whom the service provider received $1,000 or more in indirect compensation and (b) each source for whom the service
  provider gave you a formula used to determine the indirect compensation instead of an amount or estimated amount of the indirect compensation. Complete as
  many entries as needed to report the required information for each source.
                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes           (c) Enter amount of indirect
                                                                                                               (see instructions)                  compensation




                (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                            formula used to determine the service provider’s eligibility
                                                                                                                 for or the amount of the indirect compensation.




                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes           (c) Enter amount of indirect
                                                                                                               (see instructions)                  compensation




                (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                            formula used to determine the service provider’s eligibility
                                                                                                                 for or the amount of the indirect compensation.




                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes           (c) Enter amount of indirect
                                                                                                               (see instructions)                  compensation




                (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                            formula used to determine the service provider’s eligibility
                                                                                                                 for or the amount of the indirect compensation.
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                                                                                                  1      x


 Part II Service Providers Who Fail or Refuse to Provide Information
4 Provide, to the extent possible, the following information for each service provider who failed or refused to provide the information necessary to complete
     this Schedule.
    (a) Enter name and EIN or address of service provider (see        (b) Nature of    (c) Describe the information that the service provider failed or refused to
                              instructions)                               Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     10 11          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     12 13          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     10 11          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     12 13          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                   10 11 12         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     13             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                   10 11 12         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     13             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                   10 11 12         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                     13             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
1234567890                                                                             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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                                                                               1   x


Part III       Termination Information on Accountants and Enrolled Actuaries (see instructions)
               (complete as many entries as needed)
a   Name:            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   b EIN:       123456789
c   Position:        ABCDEFGHI ABCDEFGHI ABCD
d   Address:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   e Telephone: 1234567890
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
Explanation:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI
a   Name:            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   b EIN:       123456789
c   Position:        ABCDEFGHI ABCDEFGHI ABCD
d   Address:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   e Telephone: 1234567890
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
Explanation:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI
a   Name:            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   b EIN:       123456789
c   Position:        ABCDEFGHI ABCDEFGHI ABCD
d   Address:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   e Telephone: 1234567890
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
Explanation:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI
a   Name:            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   b EIN:       123456789
c   Position:        ABCDEFGHI ABCDEFGHI ABCD
d   Address:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   e Telephone: 1234567890
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
Explanation:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI
a   Name:            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   b EIN:       123456789
c   Position:        ABCDEFGHI ABCDEFGHI ABCD
d   Address:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD                   e Telephone: 1234567890
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
Explanation:         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                     ABCDEFGHI
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        SCHEDULE D                                       DFE/Participating Plan Information                                              OMB No. 1210-0110
           (Form 5500)
         Department of the Treasury               This schedule is required to be filed under section 104 of the Employee
          Internal Revenue Service                          Retirement Income Security Act of 1974 (ERISA).                                  2018
           Department of Labor                                   File as an attachment to Form 5500.
  Employee Benefits Security Administration
                                                                                                                                    This Form is Open to Public
                                                                                                                                            Inspection.
For calendar plan year 2018 or fiscal plan year beginning         01/01/2018                              and ending        12/31/2018
A Name of plan                                                                                       B Three-digit
ABCDEFGHI      ABCDEFGHI
SERCO INC. 401(K)  RETIREMENT    ABCDEFGHI
                                    PLAN         ABCDEFGHI ABCDEFGHI ABCDEFGHI                             plan number (PN)              003 001
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI
C Plan or DFE sponsor’s name as shown on line 2a of Form 5500                                        D Employer Identification Number (EIN)
ABCDEFGHI
SERCO INC. ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                              012345678
                                                                                                           XX-XXXXXXX
ABCDEFGHI
 Part I Information on interests in MTIAs, CCTs, PSAs, and 103-12 IEs (to be completed by plans and DFEs)
           (Complete as many entries as needed to report all interests in DFEs)
a Name of MTIA, CCT, PSA, or 103-12 IE: SEPARATE    ABCDEFGHI      ABCDEFGHI ABCDEFGHI ABCD
                                                        ACCOUNT VO734
                                                    ABCDEFGHI
                                             VOYA LIFE INSURANCEABCDEFGHI
                                                                    AND ANNUITY ABCDEFGHI
                                                                                      COMPANY        ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123
            XX-XXXXXXX-001
                                        d Entity    P     e Dollar value of interest in MTIA, CCT, PSA, or                           26004855
                                           code     1       103-12 IE at end of year (see instructions)                       -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                              Schedule D (Form 5500) 2018
                                                                                                                                                        v.171027
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a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
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    Part II     Information on Participating Plans (to be completed by DFEs)
                (Complete as many entries as needed to report all participating plans)
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor    ABCDEFGHI ABCDEFGHI                                          123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI ABCDEFGHI                                           123456789-123
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                                                                                                                                                                  OMB No. 1210-0110
          SCHEDULE H                                                                     Financial Information
             (Form 5500)
Department of the Treasury
          Department of the Treasury
                                                              This schedule is required to be filed under section 104 of the Employee                                 2018
           Internal Revenue Service                         Retirement Income Security Act of 1974 (ERISA), and section 6058(a) of the
                                                                                Internal Revenue Code (the Code).
            Department of Labor
   Employee Benefits Security Administration
                                                                                       File as an attachment to Form 5500.                               This Form is Open to Public
     Pension Benefit Guaranty Corporation                                                                                                                         Inspection
For calendar plan year 2018 or fiscal plan year beginning 01/01/2018                                                              and ending    12/31/2018
A Name of plan                                                                                                                         B       Three-digit
ABCDEFGHI       ABCDEFGHI
SERCO INC. 401(K)    RETIREMENT   ABCDEFGHI
                                     PLAN          ABCDEFGHI ABCDEFGHI
                                                       ABCDEFGHI                                                                               plan number (PN)                 003    001
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                                                                                 D Employer Identification Number (EIN)
ABCDEFGHI
SERCO INC. ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                             012345678
                                                                                                                                            XX-XXXXXXX
ABCDEFGHI
Part I     Asset and Liability Statement
1 Current value of plan assets and liabilities at the beginning and end of the plan year. Combine the value of plan assets held in more than one trust. Report
    the value of the plan’s interest in a commingled fund containing the assets of more than one plan on a line-by-line basis unless the value is reportable on
    lines 1c(9) through 1c(14). Do not enter the value of that portion of an insurance contract which guarantees, during this plan year, to pay a specific dollar
    benefit at a future date. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete lines 1b(1), 1b(2), 1c(8), 1g, 1h,
    and 1i. CCTs, PSAs, and 103-12 IEs also do not complete lines 1d and 1e. See instructions.
                                                   Assets                                                                         (a) Beginning of Year               (b) End of Year
a Total noninterest-bearing cash ......................................................................                  1a       -123456789012345                -123456789012345
b Receivables (less allowance for doubtful accounts):
     (1) Employer contributions ..........................................................................              1b(1)     -123456789012345
                                                                                                                                             92181                -123456789012345
     (2) Participant contributions ........................................................................             1b(2)     -123456789012345                -123456789012345
     (3) Other.....................................................................................................     1b(3)     -123456789012345                -123456789012345
c General investments:
     (1) Interest-bearing cash (include money market accounts & certificates
                                                                                                                        1c(1)     -123456789012345                -123456789012345
          of deposit)............................................................................................
     (2) U.S. Government securities ..................................................................                  1c(2)     -123456789012345                -123456789012345
     (3) Corporate debt instruments (other than employer securities):
           (A) Preferred ........................................................................................      1c(3)(A)   -123456789012345                -123456789012345
           (B) All other ..........................................................................................    1c(3)(B)   -123456789012345                -123456789012345
     (4) Corporate stocks (other than employer securities):
           (A) Preferred ........................................................................................      1c(4)(A)   -123456789012345                -123456789012345
           (B) Common.........................................................................................         1c(4)(B)   -123456789012345                -123456789012345
     (5) Partnership/joint venture interests .........................................................                  1c(5)     -123456789012345                -123456789012345
     (6) Real estate (other than employer real property) .....................................                          1c(6)     -123456789012345                -123456789012345
     (7) Loans (other than to participants) ..........................................................                  1c(7)     -123456789012345                -123456789012345
     (8) Participant loans ....................................................................................         1c(8)     -123456789012345
                                                                                                                                           10317150               -123456789012345
                                                                                                                                                                            8479929
     (9) Value of interest in common/collective trusts .........................................                        1c(9)     -123456789012345                -123456789012345
    (10) Value of interest in pooled separate accounts .......................................                         1c(10)     -123456789012345
                                                                                                                                           26520338               -123456789012345
                                                                                                                                                                           26004855
    (11) Value of interest in master trust investment accounts ............................                            1c(11)     -123456789012345                -123456789012345
    (12) Value of interest in 103-12 investment entities .......................................                       1c(12)     -123456789012345                -123456789012345
    (13) Value of interest in registered investment companies (e.g., mutual
         funds)....................................................................................
                                                                                                                       1c(13)     -123456789012345
                                                                                                                                          334379643               -123456789012345
                                                                                                                                                                          297833650
    (14) Value of funds held in insurance company general account (unallocated
         contracts) ..............................................................................................
                                                                                                                       1c(14)     -123456789012345                -123456789012345
    (15) Other .....................................................................................................   1c(15)     -123456789012345
                                                                                                                                            1606825               -123456789012345
                                                                                                                                                                            2335269


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1d Employer-related investments:                                                                                                          (a) Beginning of Year    (b) End of Year
      (1) Employer securities .................................................................................. 1d(1)                    -123456789012345        -123456789012345
      (2) Employer real property ............................................................................. 1d(2)                      -123456789012345        -123456789012345
1e Buildings and other property used in plan operation .......................................                            1e              -123456789012345        -123456789012345
1f Total assets (add all amounts in lines 1a through 1e) .....................................                             1f             -123456789012345
                                                                                                                                                  372916137       -123456789012345
                                                                                                                                                                          334653703
                                          Liabilities
1g Benefit claims payable ....................................................................................            1g              -123456789012345        -123456789012345
1h Operating payables ........................................................................................            1h              -123456789012345        -123456789012345
1i Acquisition indebtedness ................................................................................               1i             -123456789012345        -123456789012345
1j Other liabilities ................................................................................................      1j             -123456789012345        -123456789012345
1k Total liabilities (add all amounts in lines 1g through1j) ....................................                         1k              -123456789012345
                                                                                                                                                        0         -123456789012345
                                                                                                                                                                               0
                                         Net Assets
1l Net assets (subtract line 1k from line 1f) .........................................................                    1l             -123456789012345
                                                                                                                                                  372916137       -123456789012345
                                                                                                                                                                          334653703


Part II Income and Expense Statement
2 Plan income, expenses, and changes in net assets for the year. Include all income and expenses of the plan, including any trust(s) or separately maintained
     fund(s) and any payments/receipts to/from insurance carriers. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not
     complete lines 2a, 2b(1)(E), 2e, 2f, and 2g.
                                                  Income                                                                                      (a) Amount              (b) Total
 a Contributions:
      (1) Received or receivable in cash from: (A) Employers ................................. 2a(1)(A)                                   -123456789012345
                                                                                                                                                  13027259
            (B) Participants....................................................................................... 2a(1)(B)              -123456789012345
                                                                                                                                                  18880582

            (C) Others (including rollovers) ............................................................... 2a(1)(C)                     -123456789012345
                                                                                                                                                   2221420

      (2) Noncash contributions .............................................................................. 2a(2)                      -123456789012345
      (3) Total contributions. Add lines 2a(1)(A), (B), (C), and line 2a(2) ................. 2a(3)                                                               -123456789012345
                                                                                                                                                                          34129261
 b Earnings on investments:
      (1) Interest:
          (A) Interest-bearing cash (including money market accounts and
               certificates of deposit) .......................................................................
                                                                                                                2b(1)(A)                  -123456789012345
            (B) U.S. Government securities .............................................................. 2b(1)(B)                        -123456789012345
            (C) Corporate debt instruments............................................................... 2b(1)(C)                        -123456789012345
            (D) Loans (other than to participants)...................................................... 2b(1)(D)                         -123456789012345
            (E) Participant loans ............................................................................... 2b(1)(E)                -123456789012345
                                                                                                                                                    431190

            (F) Other ................................................................................................ 2b(1)(F)           -123456789012345
            (G) Total interest. Add lines 2b(1)(A) through (F) .................................... 2b(1)(G)                                                      -123456789012345
                                                                                                                                                                            431190

      (2) Dividends: (A) Preferred stock .................................................................. 2b(2)(A)                      -123456789012345
            (B) Common stock .................................................................................. 2b(2)(B)                  -123456789012345
            (C) Registered investment company shares (e.g. mutual funds) ............. 2b(2)(C)                                                        20492125

            (D) Total dividends. Add lines 2b(2)(A), (B), and (C)                                                       2b(2)(D)                                  -123456789012345
                                                                                                                                                                          20492125

      (3) Rents ........................................................................................................ 2b(3)                                    -123456789012345
      (4) Net gain (loss) on sale of assets: (A) Aggregate proceeds....................... 2b(4)(A)                                       -123456789012345
            (B) Aggregate carrying amount (see instructions) ................................... 2b(4)(B)                                 -123456789012345
            (C) Subtract line 2b(4)(B) from line 2b(4)(A) and enter result ................. 2b(4)(C)                                                             -123456789012345
                                                                                                                                                                               0

      (5) Unrealized appreciation (depreciation) of assets: (A) Real estate........................ 2b(5)(A)                              -123456789012345
            (B) Other ................................................................................................ 2b(5)(B)           -123456789012345
            (C) Total unrealized appreciation of assets.
                Add lines 2b(5)(A) and (B) ................................................................
                                                                                                                       2b(5)(C)                                   -123456789012345
                                                                                                                                                                               0
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                                                                                                                                                            (a) Amount            (b) Total
      (6) Net investment gain (loss) from common/collective trusts .........................                                2b(6)                                             -123456789012345
      (7) Net investment gain (loss) from pooled separate accounts .......................                                  2b(7)                                             -123456789012345
                                                                                                                                                                                        330560
      (8) Net investment gain (loss) from master trust investment accounts ............                                     2b(8)                                             -123456789012345
      (9) Net investment gain (loss) from 103-12 investment entities ......................                                 2b(9)                                             -123456789012345
     (10) Net investment gain (loss) from registered investment
          companies (e.g., mutual funds).................................................................
                                                                                                                           2b(10)                                             -123456789012345
                                                                                                                                                                                      -39575654
 c Other income ..................................................................................................            2c                                              -123456789012345
                                                                                                                                                                                        111841
 d Total income. Add all income amounts in column (b) and enter total .....................                                   2d                                              -123456789012345
                                                                                                                                                                                      15919323
                                        Expenses
 e Benefit payment and payments to provide benefits:
      (1) Directly to participants or beneficiaries, including direct rollovers ..............                              2e(1)                -123456789012345
                                                                                                                                                          56025943
      (2) To insurance carriers for the provision of benefits .....................................                         2e(2)                -123456789012345
      (3) Other ........................................................................................................    2e(3)                -123456789012345
      (4) Total benefit payments. Add lines 2e(1) through (3)..................................                             2e(4)                                             -123456789012345
                                                                                                                                                                                      56025943
 f Corrective distributions (see instructions) .......................................................                        2f                                              -123456789012345
                                                                                                                                                                                          9344
 g Certain deemed distributions of participant loans (see instructions) ................                                      2g                                              -123456789012345
                                                                                                                                                                                        106382
 h Interest expense .............................................................................................             2h                                              -123456789012345
 i Administrative expenses: (1) Professional fees ..............................................                            2i(1)                -123456789012345
      (2) Contract administrator fees .......................................................................               2i(2)                -123456789012345
      (3) Investment advisory and management fees ..............................................                            2i(3)                -123456789012345
      (4) Other ........................................................................................................    2i(4)                -123456789012345
                                                                                                                                                          1120788
      (5) Total administrative expenses. Add lines 2i(1) through (4)........................                                2i(5)                                             -123456789012345
                                                                                                                                                                                       1120788
 j Total expenses. Add all expense amounts in column (b) and enter total ........                                             2j                                              -123456789012345
                                                                                                                                                                                      57262457
                  Net Income and Reconciliation
 k Net income (loss). Subtract line 2j from line 2d ...........................................................               2k                                              -123456789012345
                                                                                                                                                                                      -41343134
 l Transfers of assets:
      (1) To this plan ...............................................................................................      2l(1)                                             -123456789012345
                                                                                                                                                                                       3080700
      (2) From this plan...........................................................................................         2l(2)                                             -123456789012345

Part III Accountant’s Opinion
3 Complete lines 3a through 3c if the opinion of an independent qualified public accountant is attached to this Form 5500. Complete line 3d if an opinion is not
     attached.
 a The attached opinion of an independent qualified public accountant for this plan is (see instructions):
        (1) X Unqualified       (2) X Qualified      (3) X
                                                         X Disclaimer         (4) X Adverse

 b Did the accountant perform a limited scope audit pursuant to 29 CFR 2520.103-8 and/or 103-12(d)?                              X
                                                                                                                                 X Yes       X No
 c Enter the name and EIN of the accountant (or accounting firm) below:
                   ABCDEFGHI
        (1) Name: ARONSON      LLC ABCDEFGHI ABCDEFGHI ABCD                                        (2) EIN: 123456789
                                                                                                            XX-XXXXXXX
 d The opinion of an independent qualified public accountant is not attached because:
        (1) X This form is filed for a CCT, PSA, or MTIA.    (2) X It will be attached to the next Form 5500 pursuant to 29 CFR 2520.104-50.

Part IV Compliance Questions
4   CCTs and PSAs do not complete Part IV. MTIAs, 103-12 IEs, and GIAs do not complete lines 4a, 4e, 4f, 4g, 4h, 4k, 4m, 4n, or 5.
       103-12 IEs also do not complete lines 4j and 4l. MTIAs also do not complete line 4l.
       During the plan year:                                                                                                                                       Yes   No       Amount
 a     Was there a failure to transmit to the plan any participant contributions within the time
       period described in 29 CFR 2510.3-102? Continue to answer “Yes” for any prior year failures until
       fully corrected. (See instructions and DOL’s Voluntary Fiduciary Correction Program.) ....................                                             4a         X
 b     Were any loans by the plan or fixed income obligations due the plan in default as of the
       close of the plan year or classified during the year as uncollectible? Disregard participant loans
       secured by participant’s account balance. (Attach Schedule G (Form 5500) Part I if “Yes” is
       checked.) ........................................................................................................................................     4b         X
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                                                                                                                                                                        Yes   No              Amount
c      Were any leases to which the plan was a party in default or classified during the year as
       uncollectible? (Attach Schedule G (Form 5500) Part II if “Yes” is checked.) ......................................                                          4c         X        -123456789012345
d      Were there any nonexempt transactions with any party-in-interest? (Do not include transactions
       reported on line 4a. Attach Schedule G (Form 5500) Part III if “Yes” is
       checked.) ...........................................................................................................................................       4d          X       -123456789012345
e      Was this plan covered by a fidelity bond? ..........................................................................................                        4e   X              -123456789012345
                                                                                                                                                                                               1000000
f      Did the plan have a loss, whether or not reimbursed by the plan’s fidelity bond, that was caused by
       fraud or dishonesty? .........................................................................................................................              4f         X        -123456789012345
g      Did the plan hold any assets whose current value was neither readily determinable on an
       established market nor set by an independent third party appraiser? .................................................                                       4g         X        -123456789012345
h      Did the plan receive any noncash contributions whose value was neither readily
       determinable on an established market nor set by an independent third party appraiser? ..................                                                   4h         X        -123456789012345
i      Did the plan have assets held for investment? (Attach schedule(s) of assets if “Yes” is checked, and
       see instructions for format requirements.) ..........................................................................................                       4i   X
j      Were any plan transactions or series of transactions in excess of 5% of the current
       value of plan assets? (Attach schedule of transactions if “Yes” is checked, and
       see instructions for format requirements.) ..........................................................................................                       4j         X
k      Were all the plan assets either distributed to participants or beneficiaries, transferred to another
       plan, or brought under the control of the PBGC? ...............................................................................                             4k         X
l Has the plan failed to provide any benefit when due under the plan? .................................................                                            4l         X        -123456789012345
m If this is an individual account plan, was there a blackout period? (See instructions and 29 CFR
       2520.101-3.) ......................................................................................................................................         4m         X
n      If 4m was answered “Yes,” check the “Yes” box if you either provided the required notice or one of
       the exceptions to providing the notice applied under 29 CFR 2520.101-3. .........................................                                           4n
5a     Has a resolution to terminate the plan been adopted during the plan year or any prior plan year?........ X Yes X No
       If “Yes,” enter the amount of any plan assets that reverted to the employer this year ____________________________________.
5b     If, during this plan year, any assets or liabilities were transferred from this plan to another plan(s), identify the plan(s) to which assets or liabilities were
       transferred. (See instructions.)
       5b(1) Name of plan(s)                                                                                                                                                       5b(2) EIN(s)    5b(3) PN(s)
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                    123456789        123
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                    123456789        123
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                    123456789        123
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                    123456789        123
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
5c If the plan is a defined benefit plan, is it covered under the PBGC insurance program (See ERISA section 4021.)? ...... X Yes X No   X Not determined
     If “Yes” is checked, enter the My PAA confirmation number from the PBGC premium filing for this plan year________________________. (See instructions.)
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                                                                                                                                                                                                         OMB No. 1210-0110
           SCHEDULE R                                                               Retirement Plan Information
               (Form 5500)
                                                                   This schedule is required to be filed under sections 104 and 4065 of the                                                                      2018
            Department of the Treasury
             Internal Revenue Service                              Employee Retirement Income Security Act of 1974 (ERISA) and section
              Department of Labor
                                                                             6058(a) of the Internal Revenue Code (the Code).
     Employee Benefits Security Administration                                                                                                                                                  This Form is Open to Public
                                                                                           File as an attachment to Form 5500.                                                                         Inspection.
       Pension Benefit Guaranty Corporation
For calendar plan year 2018 or fiscal plan year beginning                                      01/01/2018                                                 and ending                 12/31/2018
A Name of plan                                                                                                                                                        B Three-digit
ABCDEFGHI      ABCDEFGHI
SERCO INC. 401(K)  RETIREMENTABCDEFGHI
                                PLAN           ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                   plan number
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                    (PN)                                    003         001
ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                                                                                                                D Employer Identification Number (EIN)
ABCDEFGHI
SERCO INC. ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                            012345678
                                                                                                                                                                        XX-XXXXXXX
ABCDEFGHI
     Part I             Distributions
All references to distributions relate only to payments of benefits during the plan year.

1       Total value of distributions paid in property other than in cash or the forms of property specified in the                                                                    1
                                                                                                                                                                                                        -123456789012345
        instructions ..................................................................................................................................................................................................
2       Enter the EIN(s) of payor(s) who paid benefits on behalf of the plan to participants or beneficiaries during the year (if more than two, enter EINs of the two
        payors who paid the greatest dollar amounts of benefits):

         EIN(s):                 XX-XXXXXXX
                                _______________________________                                                               _______________________________
        Profit-sharing plans, ESOPs, and stock bonus plans, skip line 3.

3       Number of participants (living or deceased) whose benefits were distributed in a single sum, during the plan                                                                     3
        year .............................................................................................................................................................................................................    12345678
    Part II             Funding Information (If the plan is not subject to the minimum funding requirements of section 412 of the Internal Revenue Code or
                        ERISA section 302, skip this Part.)
4                                                                                                                                               X Yes                      X No
       Is the plan administrator making an election under Code section 412(d)(2) or ERISA section 302(d)(2)? .....................................................................                                               X N/A
        If the plan is a defined benefit plan, go to line 8.

5       If a waiver of the minimum funding standard for a prior year is being amortized in this
        plan year, see instructions and enter the date of the ruling letter granting the waiver.                                               Date:        Month _________                Day _________                Year _________
        If you completed line 5, complete lines 3, 9, and 10 of Schedule MB and do not complete the remainder of this schedule.
6      a Enter the minimum required contribution for this plan year (include any prior year accumulated funding
                                                                                                                                                                              6a                 -123456789012345
              deficiency not waived) ...........................................................................................................................................................................
                                                                                                                                                                 -123456789012345
       b Enter the amount contributed by the employer to the plan for this plan year ...........................................................................................
                                                                                                                                              6b

       c Subtract the amount in line 6b from the amount in line 6a. Enter the result
                                                                                                                                                               6c                 -123456789012345
             (enter a minus sign to the left of a negative amount) ..............................................................................................................................
        If you completed line 6c, skip lines 8 and 9.
                                                                                                                                         X Yes                   X No
7 Will the minimum funding amount reported on line 6c be met by the funding deadline? .................................................................................                                                          X N/A
8       If a change in actuarial cost method was made for this plan year pursuant to a revenue procedure or other
        authority providing automatic approval for the change or a class ruling letter, does the plan sponsor or plan
                                                                                                                                                                         X Yes                   X No
        administrator agree with the change? ..........................................................................................................................................................                          X N/A

    Part III            Amendments
9       If this is a defined benefit pension plan, were any amendments adopted during this plan
        year that increased or decreased the value of benefits? If yes, check the appropriate
                                                                                                                                         X Increase                   X Decrease                  X Both
        box. If no, check the “No” box.......................................................................................................................................................................                   X No
    Part IV       ESOPs (see instructions). If this is not a plan described under section 409(a) or 4975(e)(7) of the Internal Revenue Code, skip this Part.
10       Were unallocated employer securities or proceeds from the sale of unallocated securities used to repay any exempt loan? ......................X Yes X No
11 a           Does the ESOP hold any preferred stock? .................................................................................................................................                                X Yes     X No
   b           If the ESOP has an outstanding exempt loan with the employer as lender, is such loan part of a “back-to-back” loan?                                                                                      X Yes     X No
               (See instructions for definition of “back-to-back” loan.) ...............................................................................................................

12 Does the ESOP hold any stock that is not readily tradable on an established securities market? .......................................................                                                               X Yes    X No
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                                             Schedule R (Form 5500) 2018
                                                                                                                                                                                                                      v. 171027
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           Schedule R (Form 5500) 2018                                                    Page 2 - 1-
                                                                                                   1       x


  Part V      Additional Information for Multiemployer Defined Benefit Pension Plans
13 Enter the following information for each employer that contributed more than 5% of total contributions to the plan during the plan year (measured in
      dollars). See instructions. Complete as many entries as needed to report all applicable employers.

     a    Name of contributing employer

     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify):
     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify): _______________________________
     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify): _______________________________

     a    Name of contributing employer
     b    EIN                                                            c    Dollar amount contributed by employer
     d    Date collective bargaining agreement expires (If employer contributes under more than one collective bargaining agreement, check box X
          and see instructions regarding required attachment. Otherwise, enter the applicable date.) Month _______ Day _______ Year _______
     e    Contribution rate information (If more than one rate applies, check this box X and see instructions regarding required attachment. Otherwise,
          complete lines 13e(1) and 13e(2).)
          (1) Contribution rate (in dollars and cents) _____________
          (2) Base unit measure: X Hourly            X Weekly          X Unit of production      X Other (specify): _______________________________
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             Schedule R (Form 5500) 2018                                                                                     Page 3


14    Enter the number of participants on whose behalf no contributions were made by an employer as an employer
      of the participant for:                                                                                                                                                           123456789012345
                                                                                                                                                                           14a
      a The current year ......................................................................................................................................................
      b The plan year immediately preceding the current plan year .....................................................................................                    14b          123456789012345
                                                                                                                                                                14c
      c The second preceding plan year .............................................................................................................................                    123456789012345
15 Enter the ratio of the number of participants under the plan on whose behalf no employer had an obligation to make an
      employer contribution during the current plan year to:
      a The corresponding number for the plan year immediately preceding the current plan year ......................................         15a                                       123456789012345
                                                                                                                                              15b
      b The corresponding number for the second preceding plan year ..............................................................................                                      123456789012345
16 Information with respect to any employers who withdrew from the plan during the preceding plan year :
                                                                                                                                    16a
      a Enter the number of employers who withdrew during the preceding plan year ......................................................                                                123456789012345
      b If line 16a is greater than 0, enter the aggregate amount of withdrawal liability assessed or estimated to be                                                   16b
           assessed against such withdrawn employers ..........................................................................................................                         123456789012345
17 If assets and liabilities from another plan have been transferred to or merged with this plan during the plan year, check box and see instructions regarding
   supplemental information to be included as an attachment. ....................................................................................................................... X

 Part VI          Additional Information for Single-Employer and Multiemployer Defined Benefit Pension Plans
18 If any liabilities to participants or their beneficiaries under the plan as of the end of the plan year consist (in whole or in part) of liabilities to such participants
     and beneficiaries under two or more pension plans as of immediately before such plan year, check box and see instructions regarding supplemental
     information to be included as an attachment ....................................................................................................................................................................... X

19 If the total number of participants is 1,000 or more, complete lines (a) through (c)
   a Enter the percentage of plan assets held as:
          Stock: _____% Investment-Grade Debt: _____% High-Yield Debt: _____% Real Estate: _____% Other: _____%
   b Provide the average duration of the combined investment-grade and high-yield debt:
         X 0-3 years X 3-6 years X 6-9 years X 9-12 years X 12-15 years X 15-18 years X 18-21 years X 21 years or more
   c What duration measure was used to calculate line 19(b)?
         X Effective duration X Macaulay duration X Modified duration X Other (specify):
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                      SERCO INC. 401(K) RETIREMENT PLAN

                            FINANCIAL STATEMENTS

                          DECEMBER 31, 2018 AND 2017
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                                                                 Serco Inc. 401(k) Retirement Plan

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Supplemental Schedule

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            Independent Auditor's Report


            Plan Administrator
            Serco Inc. 401(k) Retirement Plan
            Herndon, Virginia


            We were engaged to audit the accompanying financial statements of Serco Inc. 401(k)
            Retirement Plan (the “Plan”), which comprise the Statements of Net Assets Available for
            Benefits as of December 31, 2018 and 2017, and the related Statement of Changes in Net Assets
            Available for Benefits for the year ended December 31, 2018, and the related notes to the
            financial statements.

            Management’s Responsibility for the Financial Statements

            Management is responsible for the preparation and fair presentation of these financial statements
            in accordance with accounting principles generally accepted in the United States of America; this
            includes the design, implementation, and maintenance of internal control relevant to the
            preparation and fair presentation of financial statements that are free from material misstatement,
            whether due to fraud or error.

            Auditor’s Responsibility

            Our responsibility is to express an opinion on these financial statements based on conducting the
            audits in accordance with auditing standards generally accepted in the United States of America.
            Because of the matter described in the Basis for Disclaimer of Opinion paragraph, however, we
            were not able to obtain sufficient appropriate audit evidence to provide a basis for an audit
            opinion.

            Basis for Disclaimer of Opinion

            As permitted by 29 CFR 2520.103-8 of the Department of Labor’s Rules and Regulations for
            Reporting and Disclosure under the Employee Retirement Income Security Act of 1974, the Plan
            administrator instructed us not to perform, and we did not perform, any auditing procedures with
            respect to the information summarized in Note 3, which was certified by Voya Institutional Trust
            Company, the trustee of the Plan, except for comparing the information with the related
            information included in the financial statements. We have been informed by the Plan
            administrator that the trustee holds the Plan’s investment assets and executes investment
            transactions. The Plan administrator has obtained a certification from the trustee as of December
            31, 2018 and 2017 and for the year ended December 31, 2018, that the information provided to
            the Plan administrator by the trustee is complete and accurate.


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                                                                Serco Inc. 401(k) Retirement Plan

                                                            Statements of Net Assets Available for Benefits



December 31,                                                                       2018             2017
Assets
Investments, at fair value                                                    $ 300,162,624 $ 335,979,964

Investments, at contract value                                                    26,004,326      26,520,337

Receivables
  Employer contributions                                                             337,933         392,771
  Notes receivable from participants                                               8,910,890      10,692,785

Total receivables                                                                  9,248,823      11,085,556


Net assets available for benefits                                             $ 335,415,773 $ 373,585,857




      The accompanying Notes to Financial Statements are an integral part of these financial statements.

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                                                                Serco Inc. 401(k) Retirement Plan

                                                 Statement of Changes in Net Assets Available for Benefits



Year Ended December 31, 2018

Additions (reductions)
  Investment income
      Interest and dividends                                                                   $ 20,824,181
      Net depreciation in fair value of investments                                              (39,607,572)
Total investment loss                                                                            (18,783,391)

   Contributions
     Participant                                                                                  18,880,524
     Employer                                                                                      6,313,388
     Employer prevailing wage                                                                      6,752,038
     Rollovers                                                                                     5,301,596
Total contributions                                                                               37,247,546

Interest income from notes receivable from participants                                              437,526

Total additions                                                                                   18,901,681

Deductions
  Benefits paid to participants                                                                   55,950,976
  Administrative expenses                                                                          1,120,789
Total deductions                                                                                  57,071,765

Net decrease before transfers                                                                    (38,170,084)

Transfer from Serco Inc. 401(k) Patco Union Plan                                                     485,052

Transfer to Serco Inc. 401(k) Patco Union Plan                                                      (485,052)

Net decrease                                                                                     (38,170,084)

Net assets available for benefits
  Beginning of plan year                                                                         373,585,857

   End of plan year                                                                            $ 335,415,773


      The accompanying Notes to Financial Statements are an integral part of these financial statements.

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                                                                Serco Inc. 401(k) Retirement Plan

                                                                               Notes to Financial Statements



1.   Description of The following description of the Serco Inc. 401(k) Retirement Plan (the "Plan")
     the Plan       provides only general information. Participants should refer to the Plan document for a
                    more complete description of the Plan's provisions.

                     General: The Plan is a defined contribution plan covering substantially all employees
                     of Serco, Inc. (the "Company") and its participating affiliates, except for nonresident
                     aliens, leased employees and employees covered by a collective bargaining agreement.
                     The Plan is subject to the provisions of the Employee Retirement Income Security Act
                     of 1974 ("ERISA").

                     The account balances of certain participants employed by Serco, Inc. whose
                     employment classification changes between union and non-union are transferred
                     between the Plan and Serco Inc.'s plan for Union employees when the classification
                     change occurs.

                     In 2018, the Company acquired BTP Systems, LLC (BTP). The BTP Systems, LLC
                     401(k) Plan was terminated and participants were given the option to have their account
                     balance rolled into any qualified plan (including the Plan). Approximately $3 million
                     was rolled into the Plan during the year ended December 31, 2018, and is included in
                     rollovers on the Statement of Changes in Net Assets Available for Benefits. Effective
                     January 1, 2018, the Plan was amended to recognize prior service with BTP Systems,
                     LLC for eligibility, vesting, and contribution allocations under the Plan.

                     Contributions: Each year, participants may contribute up to 100 percent of pretax
                     annual compensation, as defined in the Plan. Participants that are highly compensated
                     may contribute up to seven percent of pretax annual compensation, as defined in the
                     Plan. Participants that are classified as "Poly cleared" may contribute up to six percent
                     of pretax annual compensation, as defined in the Plan. Roth contributions are also
                     permitted. Participants who have attained age 50 before the end of the Plan year are
                     eligible to make catch-up contributions. Participants may also contribute amounts
                     representing distributions from other qualified plans (rollovers). The Plan provides for
                     automatic enrollment. Any newly eligible employee who has not affirmatively elected
                     to contribute to the Plan or has not affirmatively declined to participate in the Plan will
                     be automatically enrolled in the Plan with a three percent withholding of pretax annual
                     compensation. This withholding will increase by one percent each subsequent year
                     until the automatic election reaches a maximum withholding contribution of six percent
                     of compensation. Effective with the amendment on January 1, 2018, the maximum
                     withholding contribution was increased to twelve percent of compensation.




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                                                         Serco Inc. 401(k) Retirement Plan

                                                                        Notes to Financial Statements



               The Plan allows for discretionary matching contributions. During 2018, the Company
               contributed 50 percent of the first 6 percent of compensation that a participant
               contributed to the Plan. Additionally, the Plan allows for an additional discretionary
               matching contribution for Poly cleared employees of 50% of the first 6% of
               compensation that Poly cleared participants contribute to the Plan, provided the
               participant contributes at least 6% and is employed on the last day of the Plan year.
               Profit sharing amounts may be contributed at the discretion of the Company.
               Participants must complete at least 1,000 hours of service during the Plan year and be
               employed on the last day of the Plan year to receive an allocation of any discretionary
               profit sharing contribution. There were no such contributions for the Plan year ended
               December 31, 2018. The Plan provides for Company prevailing wage contributions on
               behalf of all Service Contract Act ("SCA") employees. The amount of the contribution
               shall be equal to the balance of the fringe benefit payment for each SCA participant
               based on the employment classification hourly contribution rate reduced by the amount
               of benefits provided by the Company. Contributions are subject to certain limitations.

               Participant accounts: Each participant's account is credited with the participant's
               contributions, the Company's prevailing wage contributions, as applicable, the
               Company’s discretionary matching contributions, if any, as well as allocations of the
               Company's discretionary profit sharing contribution, if any, and Plan earnings.
               Investment earnings and losses are allocated based upon the investment performance of
               each investment in the participant's account. The benefit to which a participant is
               entitled is the benefit that can be provided from the participant's vested account.

               Payment of benefits: Benefits are payable upon retirement at age 65, disability, death,
               or termination of employment. Hardship withdrawals and in-service withdrawals at age
               59 1/2 are also permitted, subject to provisions described in the Plan document.
               Withdrawals from rollover contributions are permitted at any time. Benefits are
               payable in lump sum payments. Partial withdrawals are also permitted, subject to a
               $500 minimum.

               Vesting: Participants are vested immediately in their contributions and Company
               prevailing wage contributions plus actual earnings thereon. Vesting in the Company
               discretionary matching and discretionary profit sharing contributions is based on years
               of continuous service of at least 1,000 hours per year. A participant is 33 percent vested
               after one year of service is completed, and vests an additional 33 percent per year until
               full vesting after three years.




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                                                              Serco Inc. 401(k) Retirement Plan

                                                                             Notes to Financial Statements



                   Forfeited accounts: At December 31, 2018 and 2017, forfeited nonvested accounts
                   totaled $559,635 and $361,583, respectively. These accounts will be used to reduce
                   future Company contributions or to pay Plan expenses. During 2018, $476,978 of
                   forfeited nonvested accounts were used to reduce Company contributions, and no
                   forfeited nonvested accounts were used to pay Plan expenses.

                   Notes receivable from participants: Participants may borrow from their fund
                   accounts a minimum of $1,000 up to a maximum of the lesser of $50,000 or 50% of
                   their vested account balance. Loan terms range from one to five years or up to ten years
                   for the purchase of a primary residence. The loans are secured by the balance in the
                   participant's account and bear interest at the prime rate published in The Wall Street
                   Journal plus one percent. Principal and interest are paid through payroll deductions.

                   Administrative expenses: Certain expenses of maintaining the Plan are paid by the
                   Company. Participants are also charged an asset based fee for recordkeeping. These
                   fees are included in administrative expenses.

2.   Significant   Basis of accounting: The financial statements of the Plan are prepared under the
     accounting    accrual method of accounting.
     policies
                   Investments held by a defined contribution plan are required to be reported at fair value,
                   except for fully benefit-responsive investment contracts. Contract value is the relevant
                   measurement attribute for the portion of the net assets available for benefits of a defined
                   contribution plan attributable to fully benefit-responsive investment contracts because
                   contract value is the amount participants normally would receive if they were to initiate
                   permitted transactions under the terms of the Plan.

                   Investment valuation and income recognition: Investments are reported at fair value,
                   except for fully benefit-responsive investment contracts, which are reported at contract
                   value. Fair value is the price that would be received to sell an asset or paid to transfer a
                   liability in an orderly transaction between market participants at the measurement date.
                   See Note 4 for a discussion of fair value measurements.

                   Purchases and sales of investments are recorded on a trade-date basis. Interest income is
                   recorded on the accrual basis. Dividends are recorded on the ex-dividend date. Net
                   depreciation includes the Plan’s gains and losses on investments bought and sold as
                   well as held during the year.




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                                                           Serco Inc. 401(k) Retirement Plan

                                                                          Notes to Financial Statements



               Notes receivable from participants: Notes receivable from participants are measured
               at their unpaid principal balance plus any accrued but unpaid interest. Interest income
               is recorded on the accrual basis. Delinquent loans are reclassified as distributions based
               upon the terms of the Plan document.

               Payment of benefits: Benefits are recorded when paid.

               Use of estimates: The preparation of financial statements in conformity with
               accounting principles generally accepted in the United States of America requires
               management to make estimates and assumptions that affect the reported amounts of
               assets, liabilities, and changes therein and disclosure of contingent assets and liabilities.
               Actual results could differ from those estimates.

               Subsequent events: The Plan has evaluated subsequent events for disclosure in these
               financial statements through August 21, 2019 which is the date the financial statements
               were available to be issued.




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                                                             Serco Inc. 401(k) Retirement Plan

                                                                            Notes to Financial Statements



3.   Certified     The Plan administrator has elected the method of compliance as permitted by 29 CFR
     information   2520.103-8 of the Department of Labor's Rules and Regulations for Reporting and
                   Disclosure under ERISA. Accordingly, Voya Institutional Trust Company, the trustee,
                   has certified as to the completeness and accuracy of all investment balances, related
                   investment activity, notes receivable from participants, and related interest income from
                   notes receivable from participants reflected in the accompanying financial statements
                   and supplemental schedule, summarized as follows:

                                                                              2018               2017

                   Investments, at fair value                           $ 300,162,624       $ 335,979,964

                   Investments, at contract value                       $    26,004,326     $ 26,520,337

                   Notes receivable from participants                   $     8,910,890     $ 10,692,785

                   Interest and dividend income                         $    20,824,181
                   Net depreciation in fair value of investments            (39,607,572)

                   Total investment loss                                $   (18,783,391)

                   Interest income from notes receivable from
                     participants                                       $       437,526




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                                                                Serco Inc. 401(k) Retirement Plan

                                                                                Notes to Financial Statements



4.   Fair value     The Plan reports certain assets at fair value based on a hierarchy that prioritizes the
     measurements   inputs to valuation techniques used to measure fair value. The hierarchy gives the
                    highest priority to unadjusted quoted prices in active markets for identical assets or
                    liabilities (level 1 measurements) and the lowest priority to unobservable inputs (level 3
                    measurements). The three levels of the fair value hierarchy are described below:

                        Level 1. Inputs to the valuation methodology are unadjusted quoted prices for
                        identical assets or liabilities in active markets that the Plan has the ability to access.

                        Level 2. Inputs to the valuation methodology include quoted prices for similar
                        assets or liabilities in active markets, quoted prices for identical or similar assets or
                        liabilities in inactive markets, inputs other than quoted prices that are observable for
                        the asset or liability, and inputs that are derived from or corroborated by observable
                        market data by correlation or other means. If the asset or liability has a specified
                        (contractual) term, the level 2 input must be observable for substantially the full
                        term of the asset or liability.

                        Level 3. Inputs to the valuation methodology are unobservable and significant to
                        the fair value measurement.

                    The asset or liability's level within the fair value hierarchy is based on the lowest level
                    of any input that is significant to the fair value measurement. Valuation techniques
                    used need to maximize the use of observable inputs and minimize the use of
                    unobservable inputs.

                    Following is a description of the valuation methodologies used for assets measured at
                    fair value. There have been no changes in the methodologies used at December 31,
                    2018 and 2017.

                        The fair value of the shares of mutual funds owned by the Plan is based on quoted
                        net asset values on the last business day of the Plan year.

                        The fair value of the publicly traded securities held in self-managed accounts are
                        valued at quoted market prices.




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                                                          Serco Inc. 401(k) Retirement Plan

                                                                      Notes to Financial Statements



               The fair value of assets is as follows:

                                                             Assets at Fair Value
                                                           as of December 31, 2018

                                              Level 1       Level 2     Level 3         Total

               Mutual funds               $ 297,827,355    $     -      $    -       $ 297,827,355
               Self managed accounts          2,335,269          -           -           2,335,269

               Total assets at fair
                   value            $ 300,162,624          $     -      $    -       $ 300,162,624

                                                             Assets at Fair Value
                                                           as of December 31, 2017

                                              Level 1       Level 2     Level 3         Total

               Mutual funds               $ 334,373,139    $     -      $    -       $ 334,373,139
               Self managed accounts          1,606,825          -           -           1,606,825

               Total assets at fair
                   value            $ 335,979,964          $     -      $    -       $ 335,979,964




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                                                                Serco Inc. 401(k) Retirement Plan

                                                                              Notes to Financial Statements



5.   Guaranteed      The Plan participates in a benefit responsive investment contract with Voya Insurance
     investment      and Annuity Company ("Voya") via an investment in a separate account guaranteed
     contract        investment contract, the Voya Stabilizer Fund. The account is credited with earnings
                     on the underlying investments and charged for participant withdrawals and
                     administrative expenses. Voya is contractually obligated to repay the principal and a
                     specified interest rate that is guaranteed to the Plan. Contract value, as reported to the
                     Plan by Voya, represents contributions made under the contract, plus earnings, less
                     participant withdrawals and administrative expenses. Participants may ordinarily direct
                     withdrawals or transfer all or a portion of their investment at contract value. The
                     contract has no maturity date and there is no market value adjustment upon
                     discontinuance. There are no reserves against contract value for credit risk of the
                     contract issuer or otherwise. Certain events limit the ability of the Plan to transact at
                     contract value with the issuer. Such events include: termination of the Plan, the Plan no
                     longer being a qualified plan under the Internal Revenue Code and any action taken that
                     would materially affect the rights and obligations of the issuer under the contract. The
                     Plan administrator does not believe that any event that would limit the Plan's ability to
                     transact at contract value with participants is probable of occurring.

6.   Risks and       The Plan provides for investments in various securities that are exposed to risks, such as
     uncertainties   interest rate, market and credit risks. Due to the level of risk associated with certain
                     investment securities, it is at least reasonably possible that changes in the values of
                     investment securities will occur in the near term and that such changes could materially
                     affect the amounts reported in future statements of net assets available for benefits.

7.   Plan            Although it has not expressed any intent to do so, the Company has the right under the
     termination     Plan to discontinue its contributions at any time and to terminate the Plan subject to the
                     provisions of ERISA. In the event of Plan termination, participants will become fully
                     vested in their accounts.

8.   Party-in-       Certain Plan investments are managed by affiliates of Voya Institutional Plan Services,
     interest        LLC. Voya Institutional Plan Services, LLC is the recordkeeper as defined by the Plan.
     transactions    The fees paid to Voya Institutional Plan Services, LLC and Voya Retirement Advisors
                     amounted to $1,120,789 for the year ended December 31, 2018. These transactions
                     qualify as exempt party-in-interest transactions.




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                                                               Serco Inc. 401(k) Retirement Plan

                                                                              Notes to Financial Statements



9.   Tax status      The Internal Revenue Service (“IRS”) has determined and informed the Plan
                     administrator by letter dated August 2, 2018, that the Plan and related trust are designed
                     in accordance with applicable sections of the Internal Revenue Code ("IRC"). Although
                     the Plan has been amended since receiving the determination letter, the Plan
                     administrator believes that the Plan is designed, and is currently being operated in
                     compliance with the applicable requirements of the IRC and, therefore, believes that the
                     Plan is qualified, and the related trust is tax-exempt.

                     Accounting principles generally accepted in the United States of America require Plan
                     management to evaluate tax positions taken by the Plan and recognize a tax liability if
                     the Plan has taken an uncertain position that more likely than not would not be
                     sustained upon examination by the IRS. The Plan is subject to routine audits by taxing
                     jurisdictions; however, there are currently no audits for any tax periods in progress.

10. Reconciliation   The following is a reconciliation of amounts in the financial statements to Form 5500 as
    to Form 5500     of December 31, 2018 and 2017 and for the year ended December 31, 2018:

                                                                               2018               2017

                     Net assets available for benefits per the
                      financial statements                                $ 335,415,773     $ 373,585,857
                     Difference in employer contributions receivable           (337,933)         (300,590)
                     Deemed distributions                                      (430,961)         (375,635)
                     Difference in investments                                     6,824            6,504
                     Rounding                                                    -                      1

                     Total net assets per Form 5500                       $ 334,653,703     $ 372,916,137




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                                                           Serco Inc. 401(k) Retirement Plan

                                                                       Notes to Financial Statements



               Total additions per the financial
                statements                                         $ 18,901,681
               Rollovers from BTP Systems, LLC                       (3,080,700)
               Difference in employer contributions receivable -
                2017                                                      300,590
               Difference in employer contributions receivable -
                2018                                                     (337,933)
               Difference in investments - 2017                            (6,504)
               Difference in investments - 2018                             6,824
               Classification difference                                  135,366
               Rounding                                                        (1)

               Total income per Form 5500                          $ 15,919,323


               Total deductions per the financial
                statements                                         $ 57,071,765
               Deemed distributions - 2017                             (375,635)
               Deemed distributions - 2018                              430,961
               Classification difference                                135,366

               Total expenses per Form 5500                        $ 57,262,457


               Transfer in per the financial statements            $      485,052
               Rollovers from BTP Systems, LLC                          3,080,700
               Difference in transfer                                    (485,052)

               Total transfer out per Form 5500                    $    3,080,700


               Transfer out per the financial statements           $      485,052
               Difference in transfer                                    (485,052)

               Total transfer in per Form 5500                     $       -




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                                                                       Serco Inc. 401(k) Retirement Plan
                                                                                                   EIN: XX-XXXXXXX
                                                                                                          Plan: 003

                                                   Schedule H, Line 4i - Schedule of Assets (Held at End of Year)


 December 31, 2018
                                                                        (c)
                                                            Description of Investment
                                  (b)                        Including Maturity Date,                    (e)
                     Identity of Issue, Borrower            Rate of Interest, Collateral,    (d)       Current
    (a)                Lessor or Similar Party                 Par or Maturity Value        Cost       Value

     *    Voya Institutional Trust Company:


          American Funds Capital World Gr&Inc R4                  Mutual Fund               NR     $      7,564,607
          American Funds EuroPacific Growth R6                    Mutual Fund               NR            6,736,333
          BlackRock High Yield Bond                               Mutual Fund               NR            3,231,835
          Fidelity Extended Market Index                          Mutual Fund               NR           11,176,638
          Fidelity International Index                            Mutual Fund               NR           14,199,617
     *    Voya Large Cap Growth                                   Mutual Fund               NR           23,816,238
          MFS Value                                               Mutual Fund               NR           10,142,096
          MFS Mid Cap Value                                       Mutual Fund               NR            3,895,389
          T. Rowe Price Mid-Cap Growth                            Mutual Fund               NR           18,677,497
          T. Rowe Price Target 2005                               Mutual Fund               NR            1,226,935
          T. Rowe Price Target 2010                               Mutual Fund               NR            2,450,415
          T. Rowe Price Target 2015                               Mutual Fund               NR            5,843,949
          T. Rowe Price Target 2020                               Mutual Fund               NR           14,458,507
          T. Rowe Price Target 2025                               Mutual Fund               NR           15,607,632
          T. Rowe Price Target 2030                               Mutual Fund               NR           17,561,561
          T. Rowe Price Target 2035                               Mutual Fund               NR           15,198,284
          T. Rowe Price Target 2040                               Mutual Fund               NR           13,002,872
          T. Rowe Price Target 2045                               Mutual Fund               NR           12,032,959
          T. Rowe Price Target 2050                               Mutual Fund               NR           12,665,429
          T. Rowe Price Target 2055                               Mutual Fund               NR            7,743,406
          T. Rowe Price Target 2060                               Mutual Fund               NR            1,609,512
          Vanguard Institutional Index                            Mutual Fund               NR           36,054,444
          Vanguard Intermediate-Term Bond Index                   Mutual Fund               NR           18,837,538
          Vanguard Small Cap Index Signal                         Mutual Fund               NR            7,047,592
          Templeton Global Bond Adv                               Mutual Fund               NR              447,301
          Metropolitan West Total Return Bond                     Mutual Fund               NR            7,367,976
          BlackRock Strategic Income Opps Instl                   Mutual Fund               NR              537,093
          John Hancock Alternative Asset Allocation               Mutual Fund               NR              104,981
     *    Voya SmallCap Opportunities Portfolio                   Mutual Fund               NR            3,234,749
          Boston Partners Small Cap Value II                      Mutual Fund               NR            5,353,970
          Self-Managed Accounts                              Self-Managed Accounts          NR            2,335,269




                                 Refer to accompanying Independent Auditor's Report.

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                                                                     Serco Inc. 401(k) Retirement Plan
                                                                                                 EIN: XX-XXXXXXX
                                                                                                        Plan: 003

                                   Schedule H, Line 4i - Schedule of Assets (Held at End of Year) (Continued)


 December 31, 2018
                                                                      (c)
                                                          Description of Investment
                                    (b)                    Including Maturity Date,                    (e)
                       Identity of Issue, Borrower        Rate of Interest, Collateral,    (d)       Current
    (a)                  Lessor or Similar Party             Par or Maturity Value        Cost       Value

     *      Voya Life Insurance and Annuity Company:

                                                            Guaranteed Investment
     *      Voya Stabilizer Fund                                  Contract                NR           26,004,326

            Subtotal                                                                                  326,166,950

                                                         Various, bearing interest from
     *      Participant loans                                  4.25% to 9.67%              -            8,910,890

            Total                                                                                $    335,077,840


 * A party-in-interest as defined by ERISA.

 NR - Not required for participant directed funds




                                   Refer to accompanying Independent Auditor's Report.

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                                                                       Serco Inc. 401(k) Retirement Plan
                                                                                                   EIN: XX-XXXXXXX
                                                                                                          Plan: 003

                                                   Schedule H, Line 4i - Schedule of Assets (Held at End of Year)


 December 31, 2018
                                                                        (c)
                                                            Description of Investment
                                  (b)                        Including Maturity Date,                    (e)
                     Identity of Issue, Borrower            Rate of Interest, Collateral,    (d)       Current
    (a)                Lessor or Similar Party                 Par or Maturity Value        Cost       Value

     *    Voya Institutional Trust Company:


          American Funds Capital World Gr&Inc R4                  Mutual Fund               NR     $      7,564,607
          American Funds EuroPacific Growth R6                    Mutual Fund               NR            6,736,333
          BlackRock High Yield Bond                               Mutual Fund               NR            3,231,835
          Fidelity Extended Market Index                          Mutual Fund               NR           11,176,638
          Fidelity International Index                            Mutual Fund               NR           14,199,617
     *    Voya Large Cap Growth                                   Mutual Fund               NR           23,816,238
          MFS Value                                               Mutual Fund               NR           10,142,096
          MFS Mid Cap Value                                       Mutual Fund               NR            3,895,389
          T. Rowe Price Mid-Cap Growth                            Mutual Fund               NR           18,677,497
          T. Rowe Price Target 2005                               Mutual Fund               NR            1,226,935
          T. Rowe Price Target 2010                               Mutual Fund               NR            2,450,415
          T. Rowe Price Target 2015                               Mutual Fund               NR            5,843,949
          T. Rowe Price Target 2020                               Mutual Fund               NR           14,458,507
          T. Rowe Price Target 2025                               Mutual Fund               NR           15,607,632
          T. Rowe Price Target 2030                               Mutual Fund               NR           17,561,561
          T. Rowe Price Target 2035                               Mutual Fund               NR           15,198,284
          T. Rowe Price Target 2040                               Mutual Fund               NR           13,002,872
          T. Rowe Price Target 2045                               Mutual Fund               NR           12,032,959
          T. Rowe Price Target 2050                               Mutual Fund               NR           12,665,429
          T. Rowe Price Target 2055                               Mutual Fund               NR            7,743,406
          T. Rowe Price Target 2060                               Mutual Fund               NR            1,609,512
          Vanguard Institutional Index                            Mutual Fund               NR           36,054,444
          Vanguard Intermediate-Term Bond Index                   Mutual Fund               NR           18,837,538
          Vanguard Small Cap Index Signal                         Mutual Fund               NR            7,047,592
          Templeton Global Bond Adv                               Mutual Fund               NR              447,301
          Metropolitan West Total Return Bond                     Mutual Fund               NR            7,367,976
          BlackRock Strategic Income Opps Instl                   Mutual Fund               NR              537,093
          John Hancock Alternative Asset Allocation               Mutual Fund               NR              104,981
     *    Voya SmallCap Opportunities Portfolio                   Mutual Fund               NR            3,234,749
          Boston Partners Small Cap Value II                      Mutual Fund               NR            5,353,970
          Self-Managed Accounts                              Self-Managed Accounts          NR            2,335,269




                                 Refer to accompanying Independent Auditor's Report.

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                                                                     Serco Inc. 401(k) Retirement Plan
                                                                                                 EIN: XX-XXXXXXX
                                                                                                        Plan: 003

                                   Schedule H, Line 4i - Schedule of Assets (Held at End of Year) (Continued)


 December 31, 2018
                                                                      (c)
                                                          Description of Investment
                                    (b)                    Including Maturity Date,                    (e)
                       Identity of Issue, Borrower        Rate of Interest, Collateral,    (d)       Current
    (a)                  Lessor or Similar Party             Par or Maturity Value        Cost       Value

     *      Voya Life Insurance and Annuity Company:

                                                            Guaranteed Investment
     *      Voya Stabilizer Fund                                  Contract                NR           26,004,326

            Subtotal                                                                                  326,166,950

                                                         Various, bearing interest from
     *      Participant loans                                  4.25% to 9.67%              -            8,910,890

            Total                                                                                $    335,077,840


 * A party-in-interest as defined by ERISA.

 NR - Not required for participant directed funds




                                   Refer to accompanying Independent Auditor's Report.

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